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 United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number ~rrknown~                                                      Chapter      11
                                                                                                                       ❑ Check if this an
                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         o4~zo
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document,Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                 Maines Funding Co            on


2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     N umber(EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  101 Broome Corporate Parkway
                                  P.O. Box 450
                                  Conklin, NY 13748                                                                   _          _      --     --_
                                                                ------                               - __
                                  Number, Street, City, State &ZIP Code                         P.O. Box, Number, Street, City, State &ZIP Code

                                  Broome                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                N umber, Street, City, State &ZIP Code


5.   Debtor's website (URL)       WWW.maines.net


6.   Type of debtor               ■Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  ❑ Partnership (excluding LLP)
                                  ❑ Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                                          Case 20-11501                Doc 1        Filed 06/10/20             Page 2 of 17
Debtor     Maines Funding Corporation                                                                    Case number (it known)
          -Name
           --- --


7.    Describe debtor's business         A. Check one:
                                         ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                         ❑ Railroad (as defined in 11 U.S.C. § 101(44))
                                         ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         ■ None of the above

                                         B. Check all that apply
                                         ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                         ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         ❑ Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System)4-digit code that best describes debtor.
                                            See http://www.uscourts.gov/four-digit-national-association-Waits-codes.
                                                 7223

8.   Under which chapter of the          Check one:
     Bankruptcy Code is the
                                         ❑Chapter 7
     debtor filing?
                                         ❑ Chapter 9

     A debtor who is a "small        ■Chapter 11. Check all that apply:
     business debtor' must check
      the first sub-box. A debtor as                 ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51 D), and its aggregate
     defined in § 1182(1) who                             noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                              $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                           operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                      exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
     "small business debtor") must                   ❑ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                          proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                          balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                          any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
                                                              ■    A plan is being filed with this petition.
                                                              ❑    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                              ❑    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                    Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201 A) with this form.
                                                              ❑    The debtor is a shell company as defined in the Securities- Exchange Act of 1934 Rule 12b-2.
                                         ❑ Chapter 12


9.   Were prior bankruptcy               ■ No.
     cases filed by or against
     the debtor within the last 8        ❑Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                  When                              Case number
                                                  District                                  When                              Case number


10. Are any bankruptcy cases             ❑ No
    pending or being filed by a
    business partner or an               ■Yes.
    affiliate of the debtor?
     List all cases. If more..than 1.,
     attach a separate list                       Debtor     See Schedule 1 Attached                                        Relationship
                                                  District                                  When                            Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor    Maines Funding Corporation_.                                                           Case number (if known)
          -Name



11. Why is the case filed in    Check all that apply:
    this district?
                                ■      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                ❑      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or      ■ No
    have possession of any
    real property or personal   ❑Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                           ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                           ❑ It needs to be physically secured or protected from the weather.
                                           ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                            livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                           ❑ Other                             _..      _                                          _. _
                                          Where is the property?
                                                                            Number, Street, City, State &ZIP Code
                                          Is the property insured?
                                           ❑ No
                                           ❑ Yes. Insurance agency
                                                      Contact name
                                                      Phone


         Statistical and administrative information

13. Debtor's estimation of              Check one:
    available funds
                                        ~ Funds will be available for distribution to unsecured creditors.
                                        ❑ After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of         ■ 1.49                                          ❑ 1,000-5,000                              ❑ 25,001-50,000
    creditors                   ~ 50 99                                         ❑ 5001-10,000                              ❑ 50,001-100,000
                                ❑ 100-199                                       ❑ 10,001-25,000                            ❑More than100,000
                                ❑ 200-999

15. Estimated Assets            ■ $0 - $50,000                                  ❑ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
                                ❑ $50,001 - $100,000                            ❑ $10,000,001 - $50 million                ❑ $1,000,000,001 - $10 billion
                                ❑ $100,001 - $500,000                           ❑ $50,000,001 - $100 million               ❑ $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                         ❑ $100,000,001 - $500 million              ❑ More than $50 billion


16. Estimated liabilities       ❑ $0 - $50,000                                  ❑ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
                                ❑ $50,001 - $100,000                            ❑ $10,000,001 - $50 million                ❑ $1,000,000,001 -$10 billion
                                ❑ $100,001 - $500,000                           ■ $50,000,001 - $100 million               ❑ $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                         ❑ $100,000,001 - $500 million              ❑ More than $50 billion




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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 eebtor    riltaines funding Corporation                                                              Gase number (;rxY,~:~n~
           :~ama            --                      — -- -----


           Requesi for fte€ief, Lfectarafiun, and Signatures
                                                                    _..~_                            .------                    —   ------                     ----- -

 WARNlNC -- SankruptCy fraud [s a serious crirr~e. Making a false statement ~n connection ~~vith a banktuptc} case can result in fines up to ~~aQQ,00D or
            imprisonmani #or up to 2Q yaars. or both.18 U.S.C.§§ #~2, 9941,1519, and 3571.

't7. T3ecl~rattott anr3 signature
     of author€zed                  The debtor requests rei6~f in accordar~c2 with the chap'.ar of ti3[a 11, United States Code, specified in this petition.
     represen~tive flf debtor
                                    1 have Desn authorized fo file this pet(tion nn behalf of tRe debtor.

                                    i have examPned the informatjon in this petillon artd have a reasonable belief that the information is true and correet.

                                    t deciaee under penalty of perjury That tlae forgoing is due and correct_

                                    E;cecuted on     (~H~



                               X                                                                             John C.DIL?onafo
                                                                                                             Printed name

                                            Chfef Restructuring Officer




18,5ignakura of attorney                                                                                      Date ~~ ~ ~Q~~
                                                                                                                   MI+~f DlY~YY- -----------

                                    Laura Davis ,3ones
                                    Pit ntect name

                                    PaehutskE Stang Zief~f ~ Jones LLP
                                    Fim~ name

                                    918 N. MarkeE Street
                                    17th ~loar
                                    Wi3minQEon. DE ~I9899
                                    ~tuml~er, Stree#, City, 5#ate 3~ ZIP Code


                                    Confaot phone     302-652-~s9Da                 Email address      ljones~a psajiaw.com


                                     2436 DE
                                    ~Ber numher and Slate




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                                        SCHEDULEl




        Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

On the date hereof, each ofthe entities listed below (collectively, the "Debtors")filed a voluntary
petition for relief under chapter 11 of title 11 of the United States Code in the United States
Bankruptcy Court for the District of Delaware. The Debtors have moved for joint administration
ofthese cases for procedural purposes only under the case number assigned to the chapter 11 case
of Maines Paper &Food Service, Inc.

   1. Maines Funding Corporation
   2. Maines Paper &Food. Service,Inc.
   3. Maines Paper &Food Service -Chicago, Inc.
   4. Maines Paper &Food Service -Dallas, Inc.
   5. Maines Paper &Food Service -Great Lakes, Inc.
   6. Maines Paper &Food Service -Maryland, Inc.
   7. Maines Paper &Food Service -Mid-Atlantic, Inc.
   8. Maines Paper &Food Service -New England, Inc.
   9. Maines Paper &Food Service - NY Metro, Inc.
   10. Maines Paper &Food Service -Ohio, Inc.
   1 1. IVlaines Paper &Food Service -Tennessee, Inc.
   12. Maines Paper & Pood Service -Worcester, Inc.
   13. Warehouse &Logistics,Inc.
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              ACTION BY UNANIl~~IOUS WRITTEN CONSE~'T OF TIIE
                        TIDE HOARDS OF DIRECTORS OIL
    I~ZAINES PAPER &FOOD SERVICE,Ii~TC., iVIAIN~S FUNllING CORPORATION,
   MAINES PAPER &FOOD SERVICE - CI3ICAG0,INC., MAINES PAPER &FOOD
   SERVICE - llALLAS,INC.,I~~TAIN~S PAPER &FOOD SI;IZVICE -GREAT LADS,
  INC., MAINES PAPER &FOOD SERVICE - l~~IARYLANll,INC., 1~'IAINES PAPER &
 FOOD SERVICE - ~t IID-ATLA\TIC,INC., l~'iAIlVES PAPER &FOOD SERVICE -NEW
  ENGLAND,IiVC.,17AINES P~PFR &FOOD SERVICE - ~Y METRO,I~1C., MAINES
     PAPER &FOOD SERVICE -OHIO,II~rC., M~IN~S PAPER & I'OOD SERVICE -
      TENNESSEE,INC., n'iAINES PAPER &FOOD SERVICE -WORCESTER,INC.,
                     ADD ~~AREIIOUSE &LOGISTICS,INC.

                                 effective as of June 9, 2020

                The undersigned, being all of the members of the Boards of Directors
(collectively, the "Boards" and each, a "Board") of Maines Paper &Food Service, Inc., a New
 York corporation ("MPFS"), Maines Funding Corporation, a Delaware corporation ("MFC");
 Maines Paper &Food Service -Chicago, Inc., a Delaware corporation ("MPFS-Chicago");
 Maines Paper &Food Service -Dallas, Inc., a Delaware corporation ("MPFS-Dallas"); Maines
Paper &Food Service -Great Lakes, Inc., a Delaware corporation ("MPFS-Great Lakes");
 Maines Paper &Food Service -Maryland, Inc., a Delaware corporation ("MPFS-MD"); Maines
Paper &Food Service -Mid-Atlantic, Inc., a Delaware corporation ("MPFS-Mid-Atlantic");
 Maines Paper &Food Service -New England, Inc. ("MPFS-NE"), a Delaware corporation;
 Maines Paper.& Food Service - NY Metro, Inc., a Delaware corporation ("MPFS-NY"); Maines
Paper &Food Service -Ohio, Inc., a Delaware corporation ("MPPS-0H"); Maines Paper &
Food Service -Tennessee, Inc., a Delaware corporation ("MPFS-TN"); Maines Paper &Food
Service -Worcester, Inc., a Delaware corporation ("MPFS-Worcester"); and Warehouse &
Logistics, Inc., a Delaware corporation ("W&L" and, together with MPFS, MFC, MPFS-
Chicago, MPFS-Dallas, MPFS-Great Lakes, MPFS-MD, MPFS-Mid-Atlantic, MPFS-NE,
MPFS-NY, MPFS-OH, MPFS-TN, and MPFS-Worcester, collectively, the "Companies" and
each, a "Company"), pursuant to applicable law and the applicable governing documents of each
Company, do hereby consent that the resolutions set forth below shall be deemed to have been
adopted to the same extent and to have the same force and effect as though adopted at a meeting
of the applicable Board duly called and held for the purpose of acting upon proposals to adopt
such resolutions and direct that this Action by Unanimous Written Consent be filed in the
records of each Company.

        ~inendment of Bvlaws

              WHEREAS,by reason of the resignations of David Maines and William Maines,
and the removal of Christopher I. Mellon, from the Boards of Directors of the Companies, Jaines
D. Decker has become and is the sole remaining director of each Company;

              RESOLVED, that to the extent that the Bylaws of any Company require that the
number of directors constituting the Board of Directors of such Company be a number larger
than one (1), the Bylaws of such Company are hereby amended to the extent necessary to




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authorize that the number of directors that may constitute the I3oarci of Directors of such
Company may be one (1).

II.      Fixing of Dumber of Directors

              RESOLVED, to the extent that the Bylaws of any Company require or p~nnit
that the number of directors be fixed by resolution or action of the Board of Directors of such
Company, such Board hereby fixes the number of directors of such Coinpairy as one (1).

III.     appointment of Officers

                RESOLVED, that Mark Western, David McCormack and Abhimanyu Gupta
each is hereby appointed to the office of Deputy Chief Restructuring Officer of each Company,
to serve in such office at the pleasure of the Board until his resignation or removal, with such
duties as the Chief Restructuring Offcer shall prescribe.

IV.      Chapter 11 Proceedings

            `'~'I3~REAS, the Boards have reviewed the historical performance of the
Companies and the current and long-term liabilities of the Companies;

               WHEREAS, the Boards have reviewed the materials presented by the
management of and the advisors to the Companies regarding the possible need to liquidate the
Companies, and has analyzed each of the strategic alternatives available to it, and the impact of
the foregoing on the Companies' business and its stakeholders;

                 NQWS 'I'~-I~I~EFQIZE9 ~E IT' ~2~SOI.VED, that in the judgment of the Boat-ds,
it is desirable and in the best interests of the Companies, their creditors, employees, stockholders
and other stakeholders that a petition be filed by each Company seeking relief under the
provisions of chapter 11 of title 11 of the United States Code (the "Bankruptcy Code");

               RESOLVED, that the officers of each Company (each, an "Authorized Officer")
be, and each of them hereby is, authorized on behalf of their respective Company to execute,
verify and fi1P all petitions, s~hPdu?es, lists, an~1 other papers or ~lo~uments, anal to take and
perform any and all further actions and steps that any such Authorized Officer deems necessary,
desirable and proper in connection with such Company's chapter 11 case, with a view to the
successful prosecution of such case;

                RESOL~TED, that the Authorized Officers, on behalf of their respective
Companies, are authorized, empowered and directed to retain the law firm of Pachulski Stang
Ziehl &Jones LLP ("PSZ&J") as bankruptcy counsel to represent and assist the Company in
carrying out its duties under chapter- 11 of the Bankruptcy Code, and to take any and all actions
to advance the rights of each of such Companies in connection therewith, and the Authorized
Officers are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the bankruptcy, and to cause to
be filed an appropriate application for authority to retain the services of PSZ&J;

              RESOL~TED, that John C. DiDonato of Huron Consulting Services LLC,
previously appointed to serve as Chief Restructuring Officer- of Maines Paper &Food Service,


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Inc., is hereby appointed to serve as Chief Restructuring Officer of each Company, shall be an
Authorized Officer (as defined in these resolutions), and is hereby authorized to make decisions
with respect to all aspects of the management and operation of each Company's business
including, without limitation, organization, human resources, logistics, finance, administration,
and oversight and prosecution of each Company's bankruptcy case, including, but not limited to,
bankruptcy-related reporting requirements, filing of Statement of Financial Affairs, Schedule of
Assets and Liabilities, filing of a chapter 11 plan and related disclosure statement, claims
management, managing outside professionals and such other aspects as he may identify, in such
manner as he deems necessary or appropriate in his sole and reasonable discretion consistent
with the business judgment rule, subject only to appropriate governance by the applicable Board,
in accordance with each Company's certificate of incorporation, certificate of formation, bylaws,
applicable laws and applicable bankruptcy law and orders of the Court;

               RESOLVED, that the Authorized Officers of each Company be, and hereby are,
authorized and directed to employ any other professionals necessary to assist such Company in
carrying out its duties under the Bankruptcy Code; and in connection therewith, the Authorized
Officers are hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers prior to or immediately upon the filing of the chapter 11 case and cause to
be filed appropriate applications with the bankruptcy court for authority to retain the services of
any other professionals, as necessary, and on such terms as are deemed necessary, desirable and
proper;

                RESOLVED, that the Authorized Officers be, and each of them hereby is,
authorized on behalf of the Company to take any and all actions, to execute, deliver, certify, file
and/or record and perform any and all documents, agreements, instruments, motions, affidavits,
applications for approvals or rulings of governmental or regulatory authorities or certificates and
to take any and all actions and steps deemed by any such Authorized Officer to be necessary or
desirable to carry out the purpose and intent of each of the foregoing resolutions and to effectuate
a successful chapter 11 case, including, but not limited to the development, filing and
prosecution to confirmation of a chapter 11 plan and related disclosure statement;

               RESOLVED,that any and all actions heretofore taken by any Authorized Officer
or the directors of each Company in the name and on behalf of the Company in furtherance of
the purpose and intent of any or all of the foregoing resolutions be, and hereby are, ratified,
confirmed, and approved in all respects; and

               RESOLVED, that in connection with the commencement of the chapter 11 case
by each Company, the Authorized Officers be and hereby are, authorized and empowered on
behalf of, and in the name of, the Company, to negotiate, execute and deliver a cash collateral
arrangement and the related guarantees thereto (including, in connection therewith, such notes,
security agreements and other agreements or instruments as such officers consider appropriate)
nn the teens and conditions such offcer or officers executing the same may consider necessary,
proper or desirable, such detei-~nination to be conclusively evidenced by such execution or file
taking of such action, and to consummate the transactions contemplated by such agreements or
instruments on behalf of the Company and any affiliates.




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              IN WITNESS Wf~~~k2EOF, the undersigned l~a~v~ exec-cited phis Action by
l)~~animous Written Consent as ofti7e date first wrritten above.



                                      BOARllS {~F DII~ECT()R~ ()F

                                       h~AINES PAPER & Ff~t~D SER't~ICE,INC.
                                       I~AINES PAPER & FO(>D S~RVIC~E -MID-~1TLA,N"TIC,INC.
                                       MAINES PAPER & FOUD ~EI2YICE -NEW TNGLAN~3, ANC.
                                       IYIAINES PAPER & FIJ011 S~IZ'~'ICE - NY M~TI2C:►, INC.
                                      IyIAINES PAPER & FOQD SE~tVICE -OHIO; INC.
                                      1VIAIl~IE~ FI1I~~3ING C41tPiJI2ATIt)N
                                      M~,INT~S P~1:PER &'F~J4~ SERVICE -CHICAGO, INC.
                                      MAINES ~'APER ~ ~(4t]I? SERVICE -1?ALLAS; INC.
                                      IYiA~~dE~..PAPE~ c4i FC?{~I} SERVICE - GR.EAT LAKES, It~iC.
                                      MAINES P.r~PEIt & F4Ul}'~ERVICG - ~'IARYI.AND, ANC.
                                      MAINES YAl'~;~Z & ~`OC}D PI~.'VIC~ - TENNES~E~, I~I+G
                                      MA.T.~IE~ PAPE~t 8c FC34v ~ER.VICE - ~'VC3RCESTER, INC.
                                      ~~VAIi~~QUS~,~,I,CJGISTTC:S;.INC:



                                      James D, ~eckeY~




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                                  L~F' TH,~ BO.AIZDS f7FIII~EC,'Tt)R,~~J




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       Debtor name         Maines Paper &Food Service, Inc., et al.
       United States Bankruptcy Court for the:                                      District of ~e~aWare
                                                                                               (State)
                                                                                                                                                              ❑ Check if this is an
       Case number (If known): 2~-                                                                                                                             amended filing




     Official Form 204
     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
     Unsecured Claims and Are Not Insiders (on a Consolidated Basis)          ~Z~~s
     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
     disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C.§ 101(31). Also, do not include claims by
     secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
     largest unsecured claims.



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                                                                                           3~zrr~roe3i~           or cfis~ia~tec!                                                           j
                                                                                                                                                        Deduction for
                                                                                        ' ''~~r ~~~`'j '                          'Total claim, if ;
                                                                                                                                                        value ~f              Urzsecure+i
                                                                                                                                    partially
                                                                                                                                    secured           ' ~=olf~tez~t or        claim
                                                                                                                                                        setoff


       RESTAURANT SERVICES, INC.` Elise Romero
       5200 BLUE LAGOON DRIVE €Tel: 305-529-2107                                               "Trade                                                                       X11,829,889
       MIAMI, FI. 33126         i Email: ERomerona,rsilink.com


       COCA-COLA NORTH                           Lorraine Reed
       AMERICA                                 'Tel: 800-638-1985
                                                                                               Trade                                                                        $11,439,502
       PO T30X 102703                          ~ Fax: 404-253-4162
       ATLANTA, GA 30368-2703                  =Email: dish~ibuYo~ar coca-cola.com


       TIM HOK'I~ONS USA INC                    Julia Kim
       5505 BLUE LAGOON UK                      Tel: 905-339-6010                              1rade                                                                        $6,878,71
       MIAMI, FL 33126-2029                     Email: ikim aa~bi.com


       ERNST R. YOUNG CAPITAL
                                                Dan Brandt
       ADVISORS, LLC                                                                           Professional
                                                Tel: 212-773-5058                                                                                                          $2,501,843
       5 TIMES SQUARE                                                                          Services
                                                Email: dan.biandt wed com
       NEW YORK, NY 10036
                   _    __ __
       BIRCHWOOD FOODS                         ~ Alan Demory
                                                 Tel: 800-541-1685-._                         ~ Trade
       1 821 DIVIDEND DRIVE                                                                                                                                                 52,487,500
~5                                             : Pax 262 859-2414
       COLUMBUS,OH 43228-3848
                                                 Email: t~haff~e(a~bwibods.com


       (M POSSIBLE FOODS 1NC                   ~ Daniel Licl~aa
~      400 SAGINAW DRIVE                         Tel. 855-877 6365                            Trade                                                                         X2,446,179
       RL-:DWOOD CITY, CA 94063                  Email danicl.licl~~a hiimpossi61e1~~od5 cone                                                          j
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                 ':. SENTRY INSURANCE                                                                                                  ~ Daniel Giles
     ~               1800 NORTH POINT DRIVE                                                                                            i Tel: 715-498-2223                                                                                                       'Trade                        i                                                 i                                                                                                                $1,868,345
                     STEVENS POINT, WI 54481                                                                                           `Email: dan.giles(c~sentiy.com                                                                                                                          G
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                     M&T BANK                                                                                                           I Karen D. Budnick
     8               PO BOX 4560                                                                                                        i Tcl: 856-330-8038                                                                                                          ~ Deficiency Claim                                                          ~                                                                                                               $1,680,360
                     13UPFALO, NY 14240-4560                                                                                            ~ email: kbudniak(cr~,mtb.com
                 j
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                                                                                                                                                                                                                                                                                                                                                 i
                     DARDEN DIRECT           `"
                                                Bruce Brown
                     DISTRIBUTION, INC.                                                                                                                                                                                                                                Customer
     ~                                       ~ Tel: 407-245-6224                                                                                                                                                                                                     j                                                                           ~                                                                                                               $1,686,801
                     1000 DARDEN CENTER DRIVE!                                                                                                                                                                                                                       ~ Prepayment                                                                ~
                                                Email: BBrown e darden.com
                     ORLANDO,FL 32837        i


          ASSOCIATED MILK                                                                                                               Clv~istina Globes
          PRODUCERS INC                                                                                                               s Tel: 507-354-8295                                                                                                            i Trade                  ~                                                                                                                                                                  $1,640,502
     ~ ~ :29246 NETWORK PLACE                                                                                                         !Pax: 507-359-8668                                                                                                                                      i
          CHICAGO,IL 60673-1292                                                                                                       ;Email: hulkeb e ainpi.com                                                                                                     E

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                     TYSON FRESH MEATS INC                                                                                              f Rachael Woolfley
                                                                                                                                        ~ Tel: 403-362-3457                                                                                                      ,I 1,~_~~e
                     PO BOX 28958                                                                                                                                                                                                                                                                                                                                                                                                                                $1,595,767
     ~~              NEW YORK, NY 10087                                                                                                 ~ Fax: 403-501-2100
                                                                                                                                          email: rachael.woolfley a,tvson.com


                     CARGILL MEAT SOLUTIONS  Lauren Sanabiia Anieta
                     CORP                    Tel: 316-291-2605
     IZ                                                                                                                                                                                                                                                          `Trade                                                                                                                              ~                                                           $1,577,254
                     PO BOX 3021             Fax: 952-249-4164                                                                                                                                                                                                                                                                                                                                       ~
',                   BOSTON, MA 0224]-3021  ;Email: Orden~elease ep~car~ill.com


                                                 ~osl~ua Luna
                     TRIDENT SEAFOODS CORP
                                               `Tel: 800-367-6065
                     PO BOX 952517                                                                                                                                                                                                                              ;Trade                                                                                                                                                                                           $1,547,836
'~ 3                                             Fax:206-297-5801
                     SAWT LOUIS, MO 63195-2517 ;
                                                 Email: deductions(cr~uidentseafoods.com


                     GRAPHIC PACKAGING INTL :Madison Raley
                     INC                     Tel: 901-419-4038
                                                                                    "I~rade                                                                                                                                                                                                                                                                                                                                                                     $ I ,524,745
     l4              PO BOX 645689           Fax: 318-362-2131
                     PITTSBURGH,PA 15264     Lmail: evangeline.we~~grapl~ica~k~ com


          PERDUE PAKMS INC         ' Valerie Haldeman
                                     Tel: 800-457-3738
          PO BOX 536474                                                                                                                                                                                                                                                  7}~ade                                                                                                                                                                                 $1,4(12,702
     ~5                              Fix: 410-543-3387
        i PITTSBURGH,PA 15253-590(                   -
                                   'Email: arbackuu(~perdue.cgin


       ECOLAI3 1NC                                                                                                                  ' Miranda Seebeck
                                                                                                                                      1 cl. K00-2_2-2588
       PO BOX 32027                                                                                                                                                                                                                                                      "ilade                                                                                                                                                                                 S 1,420,491
~ ~b ~                                                                                                                                Fax'651-225-3054
     ; NEW YORK, NY 10087
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                                              Krista Aquilo
                     KOCH FOODS OF CINCINNATI
                                              Tcl 847-384-5940
,17                  PO I~OX 71233                                                                                                                                                                                                                                       Trade                                                                                                                                                                                  X1,390,731
                                              fax 847 384 5962
                     CHICAGO, IL 60694-1233
                                              FinaiL k~ 1st t iiquilio d~kochioods.com
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                               ;Robin San~att                                        i
    i STRATAS FOODS LLC
                                 Tel: 901-387-2200
      PO BOX 11407             €                                                     €Trade
~18 ~                          f Fax: 901-433-8620
      BIRMINGHAM,AL 35246-2477
                                 Email: m~edit(c~st~~atasfoods.com

     MICHAEL MCCUEN,AS
                                           JeremiaU Frei-Pearson
     PLAINTIFF
                                         ~ Tel: 914-298-3281 ext 32804                    Class Action
     445 HAMILTON AVENUE
 9 !                                       Fax: 914 824 1561                              Settlement
     WHITE PLAINS, NY 10601-             ~ Email: ifrei-pearson(c~fbfglaw.com
     1 807

                                          Cheryl Luetger
     SM1TIIPIELD
                                          Tel: 630-281-5200
     PO BOX 74008622                                                                     Trade
                                          Fax: 408-990-2855
     CHICAGO, IL 60674
                                          Email: sl~deductions~smitl~field.com

                                          Susan King
     KRAFT HEINZ FOODS
                                          Tel: 570-706-4 7 99-...
     COMPANY
                                          Fax:570-472-6652                               Trade
 I   PO BOX 13063
                                          email:
     NEWARK,NJ 7188
                                          cash remit support a,k~afitoods.com

                                          Jolm Colcalrier
     FRESH MARK ]NC
                                          Tel: 800-860-(777
     PO BOX 731400                                                                       Trade
                                          Fax: 330-8303174
     DALLAS,TX 75373-1400
                                          Email: creditde tc,fieshmark.com


                                          Athe~~a Blight
     PACTN LAC
                                          Tel: 847-482-2341
     29935 NETWORK PLACE                                                             Trade
                                          Fax:847-810-3337
     CHICAGO, IL 60673-1299
                                          Lmail: _ver cash applications(c~pactiv.com


     PENSKE TRK LEASING CO LP ;Tyler Hard
     PO I30X 827380             Tel: 607-723-8391
                                                                                     ;Trade
     PHILADELPHIA,PA 19182-     Fax: 607-723-8413
     7380                     ~ Email: ~ics.wires~ic ~enske.com

                                     'Dennis Wim~ow
     MICHAEL FOODS INC
                                     'Tel: 612-595-4766
     27890 NPTWORK PLACE                                                             ;Trade
     CHICAGO,IL 60673-1278           ~ 1'ax: 952-258-4710
                                       Email: i7ia~~_i~euyen u~nicl~aelfoods.com


     T MARZ,ETTI COMPANY             ` loelene Lowe
                                       Tel: 614-396-5809                                 .ri~ide
     DEP"I' L-818
26                                   , rax: 614 396 0823
   s COLUMBUS,OH 43260
                                       Ema~L rumtclet_al(~i)m uzetti.cam                                                                                  i


      AIM NATIONALEnSE                   ~ Matt Svancara
      4944 BELMONT AV[?                    T~~' 330 759-0438                              r.~ j,
~~~ ~                                      I~ax 330 759-3721
      YOIJNGSTOWN, OH 44505                                                                                                                               !
                                           Email' blvda(dlaimntls.com


    s PECO FOODS INC                 ~ ~✓~~~~tsha Bennett
                                       ~T~el. 205-345-471 1
      PO BOX 71273                                                                       Trade
~ZH ~                                ` Faa~205-366-4519
      C HICAC,O, IL 60694-1273
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                                                          'Kathryn Poole
   f S&D COFFEE INC
                                                           Tel: 704-782-3121                                                               i
     PO BOX 752010                                                                                                ~ Trade                  ~                      I                                                     $912,085
                                                          'Fax: 704-782-7617                                                               j
29 ~ CHARLOTTE,NC 28275
                                                           Email:~ oolek_
                                                                       _~sndcoffee.com
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       RJB PROPERTIES INC                                 i Diana Alvarez                                         E                       '
       75 REMITTANCE DRNE STE                             `_. Tel: 708-479-4422                                   r
                                                                                                                  i Trade                 i~                      i                                                     $908,781
       1878                                               ~ Fax: 708-479-7722
       CHICAGO,IL 60675-1878                                  Lmail: diana .r'b- roperties.com
              Case 20-11501        Doc 1       Filed 06/10/20       Page 14 of 17



                  IN T~-~E UNITED STATES BAN~~RUPTCY COURT
                        FOI2 THE DISTRICT OF DELAWARE


In re:                                               ) Chapter 11

MAINES F'IJNDING CORPORATION,                        ) Case No. 20-            O

                              Debtor.                )


                           LIST OF EQUITY SECURITY HOLDERS
         ~_...                            --               _
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                        _                 _..                      __          St~~~res
           Maines Paper &        Maines Paper &             Common             100.0%
           Food Service,        Food Service, Inc.           Stock
                Inc.               101 Broome
                                Corporate Parkway
                                   PO Box 450
                                Conklin, NY 13748
                 Case 20-11501          Doc 1   Filed 06/10/20   Page 15 of 17



                    IN T~~E UNITED STATES BANKRUPTCY COURT
                          FOR TIE DISTRICT OF llELAWAR~


 In re:                                             ) Chapter 11

 MAINS FUNDING CORPORATION,                         ) Case No. 20-      ( )

                                Debtor.             )



                          CORPORATE OWNERSHIP STATEII'IENT

       Pursuant to rules 1007(a)(1) and 7007.1 ofthe Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly owt~ 10% or
more of any class of the debtor's equity interest:

                         ~tzai•elic~lc~ei•                 1'e~~ce~it~ge of Shires Held

              Maines Paper &Food Service, Inc.                          100%
                  Case 20-11501        Doc 1     Filed 06/10/20     Page 16 of 17



                     I:N THE UNITED STATES BANKRUPTCY COURT
                           FOR THE I)IST1tICT OF DELA~VAR~


 In re:                                                  Chapter 11

 MAINS FUNDING CORPORATION,                              Case No. 20-        O

                                Debtor


                         CERTIFICATION OF CREDITOR iVIATRIX

        Pursuant to Rule 1007-2 of the Local Rules oC Bankruptcy Practice and Procedure for the
United States Bankruptcy Court for the District of Delaware, the above-captioned debtor and its
affiliated debtors in possession (collectively, the "Debtors")hereby certify that the C~edito~~ Mali°ix
submitted contemporaneously herewith contains the names and addresses of the Debtors'
creditors. To the best of the Debtors' knowledge, the CJ^editoN Matsix is complete, correct, and.
consiste~it with Debtors' books and records.

The information contained herein is based. upon a review of the Debtors' books and records as of
the petition date. However, no comprehensive legal and/or factual investigations with regard to
possible defenses to any claims set forth in the Creditor MatT^ix have been completed. Therefore,
the listing does not, and should not, be deemed to constitute: (1)a waiver of any defense to any
listed claims;(2) an acknowledgement of the allowability of any listed claims; and/or(3) a
waivei of any other right of legal position of t ie Be~to~s.
                                     Case 20-11501                                   Doc 1      Filed 06/10/20            Page 17 of 17




  Debtoe Werra         Ntaines funding Co arafiion                                                     ._           .~__.~.._._~_

  tlnlfed States Bankruptcy Court for ihe: bIS7RICT OF DELAWARE

  Case number {!f knovn}                     __..~_.__.. .__..~ W.___...___. __..-                                                      p Check iEthis is ars
                                                                                                                                          amended flf{rtg


•                 r          #



 An inclfvidcral who is authorized to ac# on behaEf of a non-individu~3 debtor,such as a corporation or partnership, must sign and submtt this
 form fnr fhe schedutes of assefs and iiabiEities, any other document that requires a declaration that is not included !n Yhs documenf,and any
 amessdmenb of those documents. This forn~ must stets the indlviduaNs ~osit3oii ar retatfonship to the debtor, the identify of the docum9nt,
 and the date. Bankruptcy Rutas 1008 and 90~t9.

 WAR~~iNG --bankruptcy fraud is a sEeious erima. Makit3g a #else statement,concealing property, or obtaining money ox p~caperiy bJ; fra~+d in
 conn~cttan wtth a bankruptcy ease can result in fittes up to 5600,~4U of imprisonment tot' up to 2CE years, or both. ?8 U.S.C.§§'I52,9349,
 1619, and 3679.


                 -~Jscfaration and signature
                                                                                                   __~_.__                  _..._   ----                           —
         # am the president, vnotheP o~cet, or ~ti authorized agent ofi One carpoeatian; a member or an authorrzect agent of the partnership; or anat}tet
         Ind'+viduet serving as a repressntatfve of ihs debtor in this case,

         S Aava eramfnacf the Infarmatton {r~ fne documents checked below and 1 have a reasonable belief that iha infarmat,or~ is true and correct:
          p        3u9~oWe AlB:isseis-Beat and Parsor~aJ F'ro~erty(C€~iCiai Four 2QSRi8}
          Q        S+:hed[ilo D: Crcrditors fNfio Ytave Gtaims Secured by F'rnperty(O~cial Form 206n)
          Q        SchsdUle E/F.• Creditors UVho PIa~,~a tlnseacrr~ Claims {C1€ficiat Farrr1206EiF)
          p        Schedule G:Fxecufnry Contracts artd Unexpired Lasses (Official Fomt ZO&G)
          Q        Schedule N.' Codabtars(O~iciai dorm Z06N)
          p        Summary otAssats and Lrabitities for Norr-Indivtduais(Official Form z065um)
          Q        ~+manded Schedule
                   Chapter 91 or Chapters Cases: List of Creditors Wha Ffaus the 20 Largess Unsecured Claims ano Ars Nof insiders(O~ciat ~ozm 2Q4)
                   Other dacun~ent E~~at requires a declaration    G,fst (3g                          Corporate Ownership Sta#ement; and


          declare under penatFy of perjury that the foregoing is

         Executed an             ~~~~'~~                   ~

                                                                                       C. I7ii]onafo
                                                                                        name

                                                                               Chief Restrtachrring ~ffiaer               ------ -------------          -----
                                                                               Posit{on or relationship to debtor




Official dorm 202                                                   Declarakic~n Under Per~a[ty of Perjury for Non-Individual Debtors
So0W2!e Copy:igh;(cj t998-2020 bast Case,lLC ~ sn+^.v.6estcase.card                                                                                Dest C2se 6nmkr~p(cy
